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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KEGAN REICHERT, on behalf of )
himself and those similarly situated, )
                                      )
      Plaintiff.                      )
                                      )
v.                                    ) CIVIL CASE NO. 1:16-cv-4575-WSD
                                      )
HOOVER FOODS, INC.,                   )
a Georgia Corporation,                )
                                      )
      Defendant.                      )

        JOINT PRELIMINARY REPORT AND DISCOVERY PLAN

1.    Description of Case:

      (a)   Describe briefly the nature of this action.

      Plaintiff filed this lawsuit under the Fair Labor Standards Act, 29 U.S.C.

§ 216(b) (“FLSA”), and claims he was improperly classified as an exempt

employee of Defendant. Plaintiff filed this lawsuit on behalf of himself and as a

potential collective action on behalf of other individuals he contends were

similarly situated as employees of Defendant.

    (b) Summarize, in the space provided below, the facts of this case. The
summary should not be argumentative nor recite evidence.
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      Defendant Hoover Foods, Inc. is a Georgia Corporation that operates

Wendy’s franchises. Plaintiff was employed by Defendant from approximately

January 2015 to 2016 as an assistant manager at its Wendy’s franchises.

Plaintiff contends he was improperly classified as an exempt employee of

Defendant under the FLSA. Plaintiff contends he is entitled to the recovery of

overtime compensation, reasonable attorneys’ fees and costs, and liquidated

damages. Defendant denies Plaintiff’s allegations.

      (c)       The legal issues to be tried are as follows:

      Classification of Plaintiff under the Fair Labor Standards Act, 29 U.S.C.

§ 216(b); potential collective certification; Defendant’s good faith defense under

29 U.S.C. § 260; and alleged damages.

      (d)       The cases listed below (include both style and action number) are:

                (1)   Pending Related Cases: None.

                (2)   Previously Adjudicated Related Cases: Love v. Hoover Foods,

                      Inc. et al, Case No. 3:15-cv-1269 (M.D. Fla.).

2.    This case is complex because it possesses one or more of the features
      listed below (please check):

            x    (1) Unusually large number of parties

      _____ (2) Unusually large number of claims or defenses

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     _____ (3) Factual issues are exceptionally complex

       x    (4) Greater than normal volume of evidence

      x     (5) Extended discovery period is needed

     ____ (6) Problems locating or preserving evidence

     ____ (7) Pending parallel investigations or action by government

           (8) Multiple use of experts

     ____ (9) Need for discovery outside United States boundaries

     ____ (10) Existence of highly technical issues and proof

     This case is not complex; however, should a class be sought by Plaintiff on
     behalf of others and permitted by the Court, additional discovery may be
     necessary.

3.   Counsel:

     The following individually-named attorneys are hereby designated as lead
     counsel for the parties:

     Plaintiff:   C. Ryan Morgan
                  Georgia Bar No. 711884
                  Morgan & Morgan, P.A.
                  20 N. Orange Avenue – Suite 1600
                  Orlando, FL 32801




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      Defendant: Stephen L. Cotter
                 Georgia State Bar No. 189725
                 Maren R. Cave
                 Georgia State Bar No. 278448
                 Daniel J. Kingsley
                 Georgia State Bar No. 541547
                 Swift, Currie, McGhee & Hiers, LLP
                 The Peachtree, Suite 300
                 1355 Peachtree Street, NE
                 Atlanta, GA 30309

4.    Jurisdiction:

      Is there any question regarding this court’s jurisdiction?

      ___ Yes X No

       If “yes,” please attach a statement, not to exceed one (1) page, explaining the
jurisdictional objection. When there are multiple claims, identify and discuss
separately the claim(s) on which the objection is based. Each objection should be
supported by authority.

5.    Parties To This Action:

      (a)    The following persons are necessary parties who have not been
             joined:

             None at this time.

      (b)    The following persons are improperly joined as parties:

             None.




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      (c)    The names of the following parties are either inaccurately stated or
             necessary portions of their names are omitted:

             None.

      (d)    The parties shall have a continuing duty to inform the court of any
             contentions regarding unnamed parties necessary to this action or any
             contentions regarding misjoinder of parties or errors in the statement
             of a party’s name.

6.    Amendments To The Pleadings:

      Amended and supplemental pleadings must be filed in accordance with the
time limitations and other provisions of Fed. R. Civ. P. 15. Further instructions
regarding amendments are contained in LR 15.

      (a)    List separately any amendments to the pleadings which the parties
             anticipate will be necessary:

             None at this time.

      (b)    Amendments to the pleadings submitted LATER THAN THIRTY
             (30) DAYS after the Joint Preliminary Report and Discovery Plan is
             filed, or should have been filed, will not be accepted for filing, unless
             otherwise permitted by law.

7.    Filing Times For Motions:

       All motions should be filed as soon as possible. The local rules set specific
filing limits for some motions. These times are restated below. All other motions
must be filed WITHIN THIRTY (30) DAYS after the beginning of discovery,
unless the filing party has obtained prior permission of the court to file later. Local
Rule 7.1A(2).




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      (a)    Motions to Compel: before the close of discovery or within the
             extension period allowed in some instances. Local Rule 37.1.

      (b)    Summary Judgment Motions: within twenty (20) days after the close
             of discovery, unless otherwise permitted by court order. Local Rule
             56.1.

      (c)    Other Limited Motions: Refer to Local Rules 7.2A; 7.2B, and 7.2E,
             respectively, regarding filing limitations for motions pending on
             removal, emergency motions, and motions for reconsideration.

      (d)    Motions Objecting to Expert Testimony: Daubert motions with regard
             to expert testimony no later than the date that the proposed pretrial
             order is submitted. Refer to Local Rule 7.2F.

8.    Initial Disclosures:

      The parties are required to serve initial disclosures in accordance with Fed.
R. Civ. P. 26. If any party objects that initial disclosures are not appropriate, state
the party and basis for the party’s objection. NOTE: Your initial disclosures
should include electronically stored information. Refer to Fed. R. Civ.P.
26(a)(1)(B).

      None at this time. The Parties will serve Initial Disclosures on March
17, 2017.

9.    Request for Scheduling Conference:

      Does any party request a scheduling conference with the Court? If so,
please state the issues which could be addressed and the position of each party.

      Not at this time.




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10.   Discovery Period:

        The discovery period commences thirty (30) days after the appearance of the
first defendant by answer to the complaint. As stated in LR 26.2A, responses to
initiated discovery must be completed before expiration of the assigned discovery
period.

       Cases in this court are assigned to one of the following three (3) discovery
tracks: (a) zero month discovery period, (b) four months discovery period, and (c)
eight months discovery period. A chart showing the assignment of cases to a
discovery track by filing category is contained in Appendix F. The track to which
a particular case is assigned is also stamped on the complaint and service copies of
the complaint at the time of filing.

      Please state below the subjects on which discovery may be needed:

      The primary subjects on which discovery may be needed are Plaintiff’s

employment with Defendant; any liability by Defendant under the FLSA, and

damages. The parties also reference and incorporate the issues outlined in

Section 1(c) as potential discovery subjects.

      If the parties anticipate that additional time beyond that allowed by the
assigned discovery track will be needed to complete discovery or that discovery
should be conducted in phases or be limited to or focused upon particular issues,
please state those reasons in detail below:




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11.   Discovery Limitation        and      Discovery   of   Electronically   Stored
      Information:

       (a) What changes should be made in the limitations on discovery imposed
under the Federal Rules of Civil Procedure or Local Rules of this Court, and what
other limitations should be imposed.

      None at this time.

      (b)    Is any party seeking discovery of electronically stored information?

         X    Yes                       _____No

      If “yes,”

             (1)    The parties have discussed the sources and scope of the

production of electronically stored information and have agreed to limit the scope

of production (e.g., accessibility, search terms, date limitations, or key witnesses)

as follows: Plaintiff anticipates propounding requests for the production of

documents to Defendants, responsive documents of which may be kept in

electronic form.    To the extent there is electronically stored information

pertinent to this case, it will be produced in response to written discovery in

its original form, if readily available.

             (2)    The parties have discussed the format for the production of

electronically stored information (e.g., Tagged Image File Format (TIFF or .TIF

files), Portable Document Format (PDF), or native), method of production (e.g.,

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paper or disk), and the inclusion or exclusion and use of metadata, and have agreed

as follows: The parties will produce electronic data in original form, if

available, during the ordinary course of written discovery.

      In the absence of agreement on issues regarding discovery of electronically

stored information, the parties shall request a scheduling conference in paragraph 9

hereof.

12.   Other Orders:

      What other orders do the parties think that the Court should enter under Rule
26(c) or under Rule 16(b) and (c)?

      None at this time.

13.   Settlement Potential:

       (a) Lead counsel for the parties certify by their signatures below that they
conducted a Rule 26(f) conference that was held on February 22, 2017, and that
they participated in settlement discussions. Other persons who participated in the
settlement discussions are listed according to party.

For Plaintiff:

      Lead counsel (signature):     /s/ C. Ryan Morgan

      Other participants:         None.

For Defendant:

      Lead counsel (signature): /s/ Maren E. Cave


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      Other participants:       /s/ Daniel J. Kingsley

       (b) All parties were promptly informed of all offers of settlement and
following discussion by all counsel, it appears that there is now:

      (_____)      A possibility of settlement before discovery.
      ( X )        A possibility of settlement after discovery.
      (_____)      A possibility of settlement, but a conference with the judge is
                   needed.
      (_____)      No possibility of settlement.

       (c) Counsel ( X ) do or (               ) do not intend to hold additional
settlement conferences among themselves prior to the close of discovery. The
proposed date of the next settlement conference has not been set.

       (d) The following specific problems have created a hindrance to
settlement of this case.

      None specifically at this time, as discovery is just beginning.

14.   Trial by Magistrate Judge:

      Note: Trial before a Magistrate Judge will be by jury trial if a party is
otherwise entitled to a jury trial.

      (a)   The parties (______) do consent to having this case tried before a
            magistrate judge of this court. A completed Consent to Jurisdiction
            by a United States Magistrate Judge form has been submitted to the
            clerk of court this ____________ day ______________, of 20___.

      (b)   The parties ( X ) do not consent to having this case tried before a
            Magistrate Judge of this Court.




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/s/ C. Ryan Morgan                                  /s/ Maren R. Cave
C. Ryan Morgan                                      Maren R. Cave
(with express permission by Daniel J. Kingsley)     Georgia Bar No. 278448
Georgia Bar No. 711884                              Stephen L. Cotter
Counsel for Plaintiff                               Georgia Bar No. 189725
                                                    Daniel J. Kingsley
                                                    Georgia Bar No. 541547
                                                    Counsel for Defendant Hoover Foods,
                                                    Inc.

Morgan & Morgan, P.A.                               Swift Currie McGhee & Hiers
20 N. Orange Avenue                                 1355 Peachtree Street, NE
Suite 1600                                          Suite 300
Orlando, FL 32801                                   Atlanta, GA 30309
(407) 420-1414 Telephone                            (404) 874-8800 Telephone
(407) 245-3401 Facsimile                            (404) 888-6199 Facsimile
rmorgan@forthepeople.com                            stephen.cotter@swiftcurrie.com
                                                    maren.cave@swiftcurrie.com
                                                    dan.kingsley@swiftcurrie.com




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                                 ***********
                             SCHEDULING ORDER

      Upon review of the information contained in the Joint Preliminary Report
and Discovery Plan form completed and filed by the parties, the Court orders that
the time limits for adding parties, amending the pleadings, filing motions,
completing discovery, and discussing settlement are as set out in the Federal Rules
of Civil Procedure and the Local Rules of this Court, except as herein modified.

__________________________________________________________________

__________________________________________________________________


       IT IS SO ORDERED, this ______day of March, 2017.


                         ___________________________________
                         UNITED STATES DISTRICT JUDGE




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